                                     Case 20-10311-LMI                          Doc 1         Filed 01/10/20        Page 1 of 9

   Fill 1n this 1nformat1on to 1dent1fy your case.


       United States Bankruptcy Court for the:
  Southern District of Florida

   Case number (If known):    ___________                              Chapter you are filing under:
                                                                       D
                                                                       D
                                                                         Chapter?
                                                                         Chapter 11
                                                                                                                                           "'~Jg_:g~Efa ii~          V
                                                                       D J:hapter 12
                                                                       ~Chapter 13                                                     •   Check if this is an
                                                                                                                                           amended filing


 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                        12/17

 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
 joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
 the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
  Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
 same person must be Debtor 1 in all of the forms.
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.


•ifI            Identify Yourself

                                          About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
: 1.     Your full name
         Write the name that is on your    Seyed
         government-issued picture
                                          First name                                                      First name
         identification (for example,
         your driver's license or          Masoud
         passport).                       Middle name                                                     Middle name

         Bring your picture                Moghani
         identification to your meeting   Last name                                                       Last name
         with the trustee.
                                          Suffix (Sr., Jr., 11, 111)                                      Suffix (Sr., Jr., II, Ill)




  2.     All other names you
         have used in the last 8          First name                                                      First name
         years
         Include your married or          Middle name                                                     Middle name
         maiden names.
                                          Last name                                                       Last name



                                          First name                                                      First name


                                          Middle name                                                     Middle name


                                          Last name                                                       Last name




  3.     Only the last 4 digits of
         your Social Security             XXX           XX -      _i__ _5_        ~      _2__             XXX           XX - _ _ _ _ _ _ __

         number or federal                OR                                                              OR
         Individual Taxpayer
         Identification number            9xx-xx                                                          9xx - xx
         (ITIN)

  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                     page 1
                                  Case 20-10311-LMI                         Doc 1             Filed 01/10/20             Page 2 of 9


Debtor 1         Seyed        M.                     Moghani                                              Case number Wknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name   MidcleName                Last Name




                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


     Any business names
4.
     and Employer                         t!f I have not used any business names or EINs.                     D     I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in
     the last 8 years                     Business name                                                       Business name

      Include trade names and
      doing business as names             Business name                                                       Business name



                                          EIN-                                                                EIN



                                          EIN                                                                 EIN




s. Where you live                                                                                             If Debtor 2 lives at a different address:


                                           9513 SW 125 Terrace
                                          Number          Street                                              Number           Street




                                          Miami                                     Fi        33176
                                          City                                      State      ZIP Code       City                                      State     ZIP Code

                                          Miami Dade
                                          County


                                          If your mailing address is different from t!1e one                  If Debtor 2's mailing address is different from
                                          above, fill it Ir. here. No,e that tn~ court ·Nill send             yours, fill it in here. Note that the court will send
                                          any notices to you at this mailing address.                         any notices to this mailing address.



                                          Number           Street                                             Nu!'11ber        Street



                                          P.O. Box                                                             P.O. Box



                                          City                                      Stat,:.    ZI? Code        Ci~•                                     State     ZIP Code




6.    Why you are choosing                Check one:                                                           (;h ,;k one:
      this district to file for
      bankruptcy
                                          ~ Over the last 18C da;•;, before filing Iris peliiion,              D      .Jver the last 180 days before filing this petition,
                                                 I have lived in this districi ionger tha•: in any                    I have lived in this district longer than in any
                                                 other district                                                       other district.

                                          D      I have another reason. Exr!ain.                               D      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                              (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for ln~;vidu~ls Fi!'!!g for Bankr•J•>tcy                                         page2
                                                                                                                                                                f
                                  Case 20-10311-LMI                         Doc 1       Filed 01/10/20             Page 3 of 9


Debtor 1         Seyed          M.                    Moghani                                        Case number (1tknown)_ _ _ _ _ _ _ _ _ _ _ __
                First Name   Middle Name              Last Name




•Mil         Tell the Court About Your Bankruptcy Case


1.    The chapter of the                   Check one. (For a brief description of ea:-.h, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Fc;mn 2010)). Also, go 10 the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                           •   Chapter7

                                           D   Chapter 11

                                           D   Chapter 12

                                           (SYChapter 13

a. How you will pay the fee                cst1 will pay the entire fee when I file my petii:ion. Please check with the clerk's office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                           D   I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           D   I request that my fee be waiveci (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, blit is not ;£!quired to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.    Have you filed for
      bankruptcy within the
                                           •   No
                                           csr'Yes.   Distri~outhern District of FloriQi.en          2/13/14          Case number   14-13402
      last 8 years?
                                                                                                     MM/ DD/YYYY




                                      ~
                                                      DistnJ>outhern District of Flor~n              12/28/15         Case number   15-32095
                                                                                                     MM/ DD /YYYY
                                                      Distn§outhern District of FloriQi.en           11/28/16         Case number    16-25795
                                                                                                     MM/ DD/YYYY
                                                                  Southern Districi of Florida       01/14/19                        19-10469

10.   Are any bankruptcy
      cases pending or being
      filed by a spouse who is             0   Yes.   Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship to you
      not filing this case with                       District _ _ _ _ _ _ _ _ _ When                _ _ _ _ _ Case number, if known _ _ _ _ _ __
      you, or by a business                                                                          MM/DD /YYYY
      partner, or by an
      affiliate?
                                                      Debtor _ _ _ _ __              _ _ _ _ _ _ _ _ _ _ _ Relationship to you
                                                      Distrid _ _ _ _ __                     Wilen                    Case number, if known _ _ _ _ _ __
                                                                                                     MM/DD/YYYY



11.   Do you rent your                     fflf No. Go to line 12.
      residence?                           0   Yes. Has your landlord obtained an eviction judgment against you?

                                                       0    No. Go to line 12.
                                                       0    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                            part of this bankruptcy petition.




     Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                    page3
                                      Case 20-10311-LMI                          Doc 1       Filed 01/10/20          Page 4 of 9


Debtor 1         Seyed               M.                   Masoud                                           Case number (,/known), _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name        Midcle Name             Last Name




              Report About Any Busines-s You Own as a Sole Proprietor


12. Are you a sole proprietor                   r:J No. Go to Part 4.
      of any full- or part-time
      business?                                 D Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or
                                                         Number         Street
      LLC.
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                          City                                                               ZIP Code


                                                         Check the appropriate box to describe your business:

                                                         D   Health Care Business (as defined in 11 U.S.C. § 101(27A})

                                                         D   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                         D   Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                         D   Commodity Broker (as defined in 11 U.S.C. § 101 (6))

                                                         D   None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
      are you a small business
      debtor?
                                                [:jNo.   I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                      D No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 u.s.c. § 101(510).                              the Bankruptcy Code.

                                                D Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    i3No
      property that poses or is
      alleged to pose a threat                  D Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                           If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? __ _
                                                                                    Numbe1        Street




                                                                                    City                                          State      ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page4
                                  Case 20-10311-LMI                         Doc 1         Filed 01/10/20                 Page 5 of 9


Debtor 1       Seyed             M.                   Masoud                                                Case number (1fknown)_ _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name     Middle Name             Last Name




            Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
1s. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                   You must check one:
    counseling.                            rszf I received a briefing from an approved credit                    D   I received a briefing from an approved credit
                                               counseling agency within tho 180 days before I                        counseling agency within the 180 days before I
    The law requires that you                  filed this bankruptcy petition, and I received a                      filed this bankruptcy petition, and I received a
    receive a briefing about credit            certificate of completion.                                            certificate of completion.
    counseling before you file for
                                               Attach a copy of the certificate ar.,1 thf, payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                               plan, if any, that you developed with the agency.                     plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you
    cannot do so, you are not
                                           D   I received a briefing from an approved credit
                                               counseling agency within the 180 days b11fcre I
                                                                                                                 •   I received a briefing from an approved credit
                                                                                                                     counseling agency within the 180 days before I
    eligible to file.                          filed this bankruptcy petition, but I de ,1ot have a                  filed this bankruptcy petition, but I do not have a
                                               certificate of completion.                                            certificate of completion.
    If you file anyway, the court
                                               Within 14 days after you file this bankruptcy petition,               Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                               you MUST file a copy of the certificate and payment                   you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                               plan, if any.                                                         plan, if any.
    you paid, and your creditors
    can begin collection activities        D I certify that I asked for credit counseling                        D I certify that I asked for credit counseling
    again.                                     services from an approved ayenc:y, but was                            services from an approved agency, but was
                                               unable to obtain those services duriog the 7                          unable to obtain those services during the 7
                                               days after I made my requasi., and nxigerit                           days after I made my request, and exigent
                                               circumstances merit a '.\0-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                               of the requirement.                                                   of the requirement.
                                               To ask for a 30-day temporary wai;.,r-; of '.he                       To ask for a 30-day temporary waiver of the
                                               requirement, attach a sepa1ate sheei. explaining                      requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why                     what efforts you made to obtain the briefing, why
                                               you were unable to obtain it before you filed f 11r                   you were unable to obtain it before you filed for
                                               bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                               required you to file this case.                                       required you to file this case.
                                               Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days <;ifter you file.             still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                         You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                               developed, if an>'' If y-0..i do .-,ct do so your case                developed, if any. If you do not do so, your case
                                               may be dismissed.                                                     may be dismissed.
                                               Any extension of the 30-uay deadline is granted                       Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a n~::ix1mt,m of 15                  only for cause and is limited to a maximum of 15
                                               days.                                                                 days.

                                           D   I am not required to receive a briefing about                     D   I am not required to receive a briefing about
                                               credit coLinseling because of:                                        credit counseling because of:

                                               D   Incapacity.    I have a mental ilin-::ss or a rne1:\al            D   Incapacity.    I have a mental illness or a mental
                                                                  deficiency that makes me                                              deficiency that makes me
                                                                  incapable of reali:-:i!1g or making                                   incapable of realizing or making
                                                                  rational decisions about finances.                                    rational decisions about finances.
                                               D   Disability.    My physical.disability causes me                   D   Disability.    My physical disability causes me
                                                                  to be unable to pa: tic1pate in a                                     to be unable to participate in a
                                                                  briefing in person, by phone. or                                      briefing in person, by phone, or
                                                                  throuoh the internet, even after I                                    through the internet, even after I
                                                                  reasc·,,at:-!y tried to :Jo so.                                       reasonably tried to do so.
                                               D   Active duty. I am currently on active military                    D   Active duty. I am currently on active military
                                                                duty in a militar1 cr,mb:1t zone.                                     duty in a military combat zone.
                                               If you believe you are not required to ,,.,ceive a                    If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with th;; court.               motion for waiver of credit counseling with the court.




  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                           page 5
                               Case 20-10311-LMI                              Doc 1         Filed 01/10/20              Page 6 of 9


Debtor 1       Seyed            M.                    Moghani                                              Case number (1fknown)_ _ _ _ _ _ _ _ _ _ _ __
              First Name   Middle Name               Last Name




            Answer These Questions for Reporting Purposes

                                         16a.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose."
      you have?
                                                g. No. Go to line 16b.
                                                l:!I Yes. Go to line 17.
                                         16b.   Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a bu!;iness 0r investment or through the operation of the business or investment.

                                                uVNo. Go to line 16c.
                                                D   Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.



      Are you filing under
                                         ~ No.
11.
      Chapter7?                                     I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after         D   Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                      administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                  0   No
      administrative expenses
      are paid that funds will be                   D   Yes
      available for distribution
      to unsecured creditors?

1a. How many creditors do                ~1-49                                         0   1,000-5,000                            0   25,001-50,000
      you estimate that you              0   50-99                                     0   5,001-10,000                           0   50,001-100,000
      owe?                               0   100-199                                   0   10,001-25,000                          D   More than 100,000
                                         0   200-999

19.   How much do you                    Cf$0-$50,000                                  D   $1,000,001°$10 million    D $500,000,001-$1 billion
      estimate your assets to            0   $50,001-$100,000                          D   $10,000,001-$50 million   D $1,000,000,001-$10 billion
      be worth?                          0                                             D                             D $10,000,000,001-$50 billion

20.   How much do you
                                         D
                                         0
                                             $100,001-$500,000
                                             $500,001-$1 million

                                             $0-$50,000
                                                                       _________ _______
                                                                                       D
                                                                                           $50,000,001-$100 million
                                                                                           $100,000,001-$500 million
                                                                                               ,,,

                                                                                       13"s1,ooo,001-$10 million
                                                                                                                     D More than $50 billion
                                                                                                             ~,----------
                                                                                                                                  D
                                                                                                                                                  ---------
                                                                                                                                      $500,000,001-$1 billion
      estimate your liabilities          0   $50,001-$100,000                          D $10,000,001-$50 million                  D   $1,000,000,001-$10 billion
      to be?                             0                                             D                                          D

•¥•I
                                             $100,001-$500,000                             $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                         D   $500,001-$1 million                       D   $100,000,001-$500 million              D   More than $50 billion

             Sign Below
                                         I have examined this petition, and I declare under penalty of periury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                         of title 11, United States Code. I understand the reli':'f available under each chapter, and I choose to proceed
                                         under Chapter 7.                                         ··

                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read thP. notice required by 11 U.S.C. § 342(b).
                                                                      itfa;;ce ~ _h the chapter of title 11, United States Code, specified in this petition.
                                                                                 I
                                                              ing a false stat,ement, concealing property, or obtaining money or property by fraud in connection
                                                           Icy case can res It in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                          152, ;j41,1519and3571.

                                                                                                               X
                                                                                                                    Signature of Debtor 2

                                             Executed on         _1_/_1_0_/2_0_2_0_ _                               Executed on _ _ _ _ _ __
                                                                 MM    / DD    /YYYY                                              MM / DD      /YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                            page6
                              Case 20-10311-LMI                         Doc 1        Filed 01/10/20                 Page 7 of 9


Debtor 1     Seyed          M.                     Mogharii                                        Case number (dknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
             First Name   Middle Name              Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(':l) and, in a ce1se in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                            Date
                                           Signature of Attorney for Debtor                                                MM         DD   /YYYY




                                            Printed name



                                            Firm name


                                            Number      Street




                                            City                                                           State           ZIP Code




                                            Contact phone _ _ _ _ _ _ _ _ _ _ _ _ _ __                     Email address




                                            Bar number                                                      State




                                                                                                                                                                 ,


  Official Form 101                                Voluntary Petition for Individuals Filing ~~r Bankruptcy                                        page 7
                              Case 20-10311-LMI                               Doc 1          Filed 01/10/20       Page 8 of 9


Debtor 1      Seyed          M.                   Moghani                                            Case nurr:l:ler (1fknown) _ _ _ _ _ _ _ _ _ _ _ _ __
             First Name   MidcleName              Last N a • , ~ - - - - - · · · - · · - -




For you if you are filing this         The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                  should understand that many people find it extremely difficult to represent
attorney                               themselves successfully. Because bankruptcy has long-term financial and legal
                                       consequences, you are strongly urged t,, hire a qualified attorney.
If you are represented by
an attorney, you do not                To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                technical, and a mistake or inaction may affect your rights. For example, your case may be
                                       dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                       hearing, or cooperate with the court. case trustee, U.S. trustee, bankruptcy administrator, or audit
                                       firm if your :::ase is selected fo; auuit. If that happens, yo1.. could lose your right to file another
                                       case, or you may lose prc-teclions, including the benefit of the automatic stay.

                                       You must list all your pi-,:,perty and debts in the schedules that you are required to file with the
                                       court. Ever. if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                       in your schedules. If you clo not i;f.t a <Jebt, the debt may not be discharged. If you do not list
                                       property or properly claim it as exe,r,pt, you may not be able to keep the property. The judge can
                                       also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                       case, such as destroying or hiding prop13rty, fa1ti7Ying records, or lying. Individual bankruptcy
                                       cases are randomly audited to determine if d~btors have been accurate, truthful, and complete.
                                       Bankruptcy fraud is a serious crimE;; you could be fined and imprisoned.

                                           If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                           Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                           be familiar with any state P.xemption laws that apply.

                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?
                                           D   No
                                           isa"ves
                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be fined er imprisoned?

                                           D No
                                           ur'ves
                                           Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                           [! No
                                           D   Yes. Name of Person
                                                    Attach bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




                                       X                                                                 X
                                                                                                              Signature of Debtor 2

                                           Date               01/09/2020                                      Date
                                                             MM/ DD         /YYYY                                              MM/    DD /YYYY

                                           Contact phori ~ _ _ __                                             Contact phone


                                           Cell phon(3        0   s) 111             ~$ ~
                                           Email address                                                      Email address



  Official Form 101                               Voluntary Petition for Individuals Filing foe Bankr11ntcy                                      page 8
                       Case 20-10311-LMI    Doc 1   Filed 01/10/20   Page 9 of 9




~-...
   .
                                           Creditor Matrix




        Wells Fargo Bank, N.A.
        P.O. Box 10335
        Des Moines, IA 50306-0335




                                                                                   I
                                                                                   f
